Case:18-05288-EAG11 Doc#:176 Filed:04/15/19 Entered:04/15/19 13:46:50               Desc: Main
                            Document Page 1 of 2




                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF PUERTO RICO



        IN THE MATTER OF:
                                                               CASE NO. 18-05288 (ESL)
        SKYTEC, INC.

                 Debtor                                        CHAPTER 11



                 MOTION FOR ENTRY OF ORDER CONDITIONALLY APPROVING
                   DISCLOSURE STATEMENT AND SCHEDULING HEARING
                         TO CONFIRM PLAN OF REORGANIZATION


        TO THE HONORABLE COURT:

                 Comes now Debtor through its undersigned counsel and very respectfully states and

        prays:

                 1.    On September 12, 2018, Debtor filed its voluntary petition for reorganization

        under the provisions of Chapter 11 of the Bankruptcy Code, and as of that date has been

        operating its business and managing its affairs as a debtor in possession, as provided for in

        the Bankruptcy Code. See Docket No. 1.

                 2.    Debtor is a small business as defined under Section 101(51) of the

        Bankruptcy Code,

                 3.    On January 16, 2019, Debtor filed its Disclosure Statement and Plan of

        Reorganization. (See Docket Nos. 91 and 92).

                 4.    On even date, Debtor proceeded to file its First Amended Disclosure




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Case:18-05288-EAG11 Doc#:176 Filed:04/15/19 Entered:04/15/19 13:46:50           Desc: Main
                            Document Page 2 of 2




        Statement in order to include information that this Court deemed necessary before the

        final approval of the same.    However, the plan of reorganization stayed as filed on

        January 16, 2019.

              5.         Therefore, Debtor hereby request that the Court enters an order

        conditionally approving Debtor’s Disclosure Statement and schedules a hearing for the

        final approval of the same and the confirmation of the Plan of Reorganization filed on

        January 16, 2019, which deadline to confirm has been previously extended by this Court.

              WHEREFORE, Debtor respectfully requests that this Court enters the

        aforementioned order as soon as possible.


              CERTIFICATE OF SERVICE:                I hereby certify that on this same date, I

        electronically filed the foregoing with the Clerk of the Court using the CM/ECF system,

        which will send notification of such filing to the Assistant US Trustee, and all

        participants of CM/ECF.


              San Juan, Puerto Rico, this 15th day of April, 2019.

                                                  s/ Alexis Fuentes-Hernández, Esq.
                                                  Alexis Fuentes-Hernández, Esq.
                                                  USDC-PR 217201

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